    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 1 of 9 PageID #:102



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DARRELL FAIR B-32994

                       Plaintiff,

                       v.                            Case No. 17 C 5776

WARDEN PFISTER, et al.                               Judge Gary Feinerman
                                                     Magistrate Judge Michael T. Mason
                       Defendants.

  DEFENDANTS’ ANSWERS AND AFFIRMATIVE DEFENSES TO PLAINTIFF'S'
                          COMPLAINT


   Defendants RANDY PFISTER and NICHOLAS LAMB, by and through their attorney LISA

MADIGAN, Illinois Attorney General, answer Plaintiff's Complaint as follows:

       1.[**ENTIRE FIRST LINE ILLEGIBLE DUE TO WRITING BEING UNDER
HEADER**].14th Amendment of the U.S. Constitution that guarantees Plaintiff’s right to Due
process and equal protection of the law.

       ANSWER: Defendants are unable to answer due to the first line of paragraph 1

being illegible.

        2.      Plaintiff was also denied his 8th amendment right under the U.S. constitution that
protects plaintiff against cruel and unusual punishment by government and state officials.

       ANSWER: Defendants deny the allegations contained in Paragraph 2.

        3.      On July 24th plaintiff was in his cell D-736 at about 1:00 pm when internal affairs
officer Shevlin #10712 come to cell with a open cup and asked plaintiff to submit a urine sample.
Plaintiff has enlarged prostate so at times urination is difficult. Plaintiff wasn’t able give a
sample at that time and was asked to get dressed and go down stairs. Plaintiff placed the still
open sample cup on top of the sink/toilet, proceeded to get dressed and was escorted to 1st floor
by C/O Shevlin and asked to wait by the SGT’s office. One open urine cup was still atop the sink
upstairs inside cell D-736.




                                                 1
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 2 of 9 PageID #:103



       ANSWER: Defendants admit that Plaintiff was in Cell D-736 on July 24, 2015.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of paragraph 3.

        4.       About 3:15 pm after shift changed, c/o Shevlin came down stairs from upstairs
inside plaintiff cell, with the still open urine cup and handed the cup to plaintiff, several cell-
house help workers were also bringing down some of the property from cell 736, apparently they
(cell-house workers) were told to pack certain items from Plaintiffs cell-legal and property taxed
and black radio and to bring them down stairs.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegations of paragraph 4.

        5.      C/O Shevlin escorted plaintiff to internal affairs office where plaintiff eventually
gave a sample. Plaintiff was told that his sample tested positive and that if plaintiff gave C/O
Shevlin some information that C/O Shevlin could make the whole thing go away. Plaintiff
responded that he didn’t do drugs and requested that sample be sent to the lab for testing.
Plaintiff was told that he’d be placed under investigation. My investigation started 7/24/15 at
3:00 pm.

       ANSWER: Defendants admit that Plaintiff’s urine sample tested positive and that

Plaintiff was on Investigative Status on July 24, 2015. Defendants lack knowledge or

information sufficient to form a belief as to the truth of the remaining allegations of

paragraph 5.

       [**ILLEGIBLE SENTENCE DUE TO WRITING BEING UNDER HEADER**]

        6. One Offender may be detained in investigation status for up to 30 days for adult and up
to 5 days for juvenile.

       ANSWER: Defendants deny the allegations contained in Paragraph 6.

         7. In the event that an investigation cannot be completed within 30 days for adults or 5
days for juveniles due to institutional emergency, the chief admin officer may personally
authorize in writing, an extension of up to 30 days investigation. As used in this section, an
institutional emergency includes riots, strikes, lock downs and natural disasters.

       ANSWER: Defendants admit that Plaintiff paraphrases Section 504.50 (c)(7) of the

Illinois Administrative Code.

                                                  2
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 3 of 9 PageID #:104



        8.      Plaintiff was kept under investigation for 32 days and 3 ½ hours before a
disciplinary report was written. This was 2 days and 3 ½ hours over the allowed limit for adults.

       ANSWER: Defendant admits that Plaintiff was on Investigative Status from July

24, 2015 to August 24, 2015. Defendant denies the remaining allegations contained in

Paragraph 8.

        9.      Section 504.30 of the Ill Admin Code states: In no event shall a disciplinary
report or investigation report be served upon offender (adult) more that 8 days or 6 days for a
juvenile offender, after the commission of an offense or discovery thereof unless offender is
unavailable.

       ANSWER: Defendant admits that Paragraph 9 paraphrases Section 504.30(f) of the

Illinois Administrative Code.

      10.     After 30 days of confinement, Plaintiff notified A/W Lamb who was acting Chief
Admin officer and I was told that my concerns would be forwarded to the appropriate staff.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of paragraph 10.

        11.     Plaintiff also explained this investigation rule violation to Lt. Best at the
adjustment hearing, Lt. Best said that he would look into it. Ms. Harris was also present a the
adjustment hearing, and she and plaintiff had spoken 3 days prior to hearing and she informed
plaintiff had spoken 3 days prior to hearing, and she informed plaintiff that after 30 days of
investigation that a written request was necessary for additional time. Plaintiff was still found
guilty of 203 violations Lt. Best and the hearing process, refused to follow the rules and
regulations set forth by the Ill. Dept of Corrections violation Plaintiff 8th and 14 amendment.

       ANSWER: Defendants admit that Plaintiff was cited for a 203 violation. Defendants

deny any violation of Plaintiff’s rights. Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations of paragraph 11.

       12.     Rights to due process and equal protection under the Law. Plaintiff then notified
the Grievance officer Anna Mcbee about the 30 day rule violation and also about the wrong
(observation date) on my disciplinary report. When Plaintiff informed Lt. Best about the wrong
observation date, he told plaintiff that “the error won’t affect my guilt or innocence”. But the
DOC rules state that the observation time and date must stay the same. Anna McBee denied my
grievance #4312 saying it was frivolous and without merit. I appealed her decision to the PRB
(Prisoner Review Board) in Springfield, again Plaintiff was denied his rights under the

                                                 3
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 4 of 9 PageID #:105



constitution of due process & equal protection under the law 8th and 14th amendment and
deliberate indifference when the institutional admin failed to correct or respond or investigate.
Plaintiff had his disciplinary report re-written 3 times! 8/24/15-10/4/15-11/24/15 Plaintiff raised
the issue through grievance procedure on each of those 3 occasions about the 30th day
investigation limit rule violation my issue was disregarded.

       ANSWER: Defendants deny any constitutional rights of Plaintiff were violated.

Defendants admit Anna McBee reviewed grievance 4312, dated October 24, 2015, on

January 13, 2016, and recommended that it be denied. Defendants lack knowledge or

information sufficient to form a belief as to the truth of the remaining allegations of

paragraph 12.

        13.     Plaintiff [**ILLEGIBLE DUE TO WRITING UNDER HEADER***] the issue
addressed. But when the response from P.R.B. finally arrived, Springfield bldg. Debbie Knauer
and acting Director Jerry Baldwin-concurred. [**ILLEGIBLE**] answered grievance dated
10/14/15 #3790 their response said that ticket was corrected 11/24/15-which was the date of
observation . It only addressed DR 504.80 and DR 504.30 there was no mention of DR 504.50, it
clear to see that the dates and grievance numbers were added to the official response from
A.R.B. as a after thought and that the merit of those grievances were never considered in direct
violation of Plaintiff 14th and 8th amendment reports to due process and equal protection under
the law. And also a case of deliberate indifference of Plaintiff rights when they ARB failed to
acknowledge, respond and investigate, plaintiff allegation on several attempts.

       ANSWER: Defendants admit Plaintiff filed Grievance 3790, dated August 11, 2015.

Defendants admit that Grievance 3790 was reviewed on September 28, 2015. Defendants

further admit that the recommendation following review was to remand the disciplinary

report to the Adjustment Committee to have the date of the report corrected to reflect July

24, 2015. Defendants deny any of Plaintiff’s constitutional rights were violated. Defendants

lack knowledge or information sufficient to form a belief as to the truth of the remaining

allegations of paragraph 13.

        14.     Plaintiff second issue is a violation of his 8th Amendment rights that protects
Plaintiff from cruel and unusual punishment from government and state officials.




                                                 4
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 5 of 9 PageID #:106



       ANSWER: Defendants deny any of Plaintiff’s constitutional rights were violated.

Defendants admit Plaintiff alleges an 8th Amendment violation.

       15.     Because of Plaintiffs due process right violation plaintiff was written a DR 203
and placed in F-house seg for a period of 6 months and 2 months in F-house general population.

       ANSWER: Defendants admit that Plaintiff was issued a DR 203 on July 29, 2015

and that the disciplinary action for the DR 203 was six months in segregation. Further,

Defendants admit that Plaintiff was in cell F-204 from July 24, 2015 to December 23, 2015,

cell F-137 from December 23, 2015 to January 22, 2016, and cell F-356 from January 22,

2016 to March 3, 2016. Defendants deny any of Plaintiff’s constitutional rights were

violated.

        16.     Plaintiff was not able to participate in a P& Nap school course that he signed up
for due to his seg status, something that could of been accessible if he were in general
population.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of paragraph 16.

       17.    Plaintiff was not allowed to attend monthly religious services due to his seg
confinement, which he could of partaked (sic) if in general population.

       ANSWER: Defendants admit that Section 425.60 (c) of the Illinois Administrative

Code states “[n]othing in this Part shall require the provision of group religious activities to

committed persons in . . . segregation areas.” Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remaining allegations of paragraph 17.

       18.     Plaintiff [**ILLEGIBLE**] e-file machine, typewriters, copy machine, inmate
might get copies on Fridays if inmate is in charge of copies feel like doing it.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of paragraph 18.




                                                 5
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 6 of 9 PageID #:107



       19.   Plaintiff wont able to type clemency and federal appeal due to no typewriters, all
above mentioned services are accessible to the general population but denied to plaintiff due to
seg confinement.

       ANSWER: Defendant admit that typewriters are not authorized personal property

in segregation. Defendants clarify that a segregation flex ink pen and notebook paper are

authorized personal property for inmates in segregation. Defendants deny the remaining

allegations contained in paragraph 19.

         20.     Plaintiff was placed in cell 204 in F-House, when there was cracks in the window
that allowed cold air to enter cell there was a huge rusted hole in the heater beneath the and the
whole F-house was ingested w/birds, mice, roaches, fruit flies etc. Plaintiff developed impaired
breathing where he filed 2 separate grievances and plaintiff else developed a bacterial infection
that covered his arms from wrist to shoulders, his front chest and neck. He was treated twice for
this condition, and on two occasions he was seen by medical staff and not treated for this skin
rash. Plaintiff also developed a rash that covered his head while in F-house.

       ANSWER: Defendants admit that Plaintiff was placed in F-House cell F-204 from

July 24, 2015 to December 23, 2015. Defendants lack knowledge or information sufficient to

form a belief as to the truth of the remaining allegations of paragraph 20.

        21.      In December 23 or about Plaintiff was moved from F-204 to F-137 where
Plaintiff didn’t have access to working toilet and there was a leak in the ceiling and the window
wouldn’t close. In order to use the bathroom. Plaintiff had to kick and beat on the cell door, and
the officers let me out when they felt like it, and never during the 11 pm-7am shift. And I was
never let out during the 7am-3pm shift until the Lt. arrived in the morning, and they sometimes
arrived as late as 9:30 am, so on numerous times I was forced to defecate on myself and urinate
and say because the toilet was broken and filled with bodily waste. So Plaintiff was forced to
stay in cell 137-when plaintiff asked to get moved his request went unanswered, the plumbers
were called and they said that they couldn’t fix the toilet, because they had to order a part.
Plaintiff again requested to be moved to a different cell, but was denied-plaintiff requested to be
moved no less than 20 different times. The toilet was fixed about Jan 19, 2016, almost a month
(26 days) later. But the roof continued to leak the mice and roaches and birds and mold and dust
and dirt continued to inundate the F-house building, which was finally condemned and closed
down because of sanitary conditions proved to be inhabitable.

       ANSWER: Defendants admit that Plaintiff was placed in cell F-137 from December

23, 2015 to January 22, 2016. Defendants further admit that F-House was closed.




                                                 6
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 7 of 9 PageID #:108



Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of paragraph 21.

        22.      Plaintiff alleges acts or omissions sufferable and harmful. The overall combined
issues state a typical and significant hardship in relation to F-house segregation and placement.

       ANSWER: Defendants deny any of Plaintiff’s constitutional rights were violated.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of paragraph 22.

        23.    Institutional admin and staff failed to correct the F-house infestation of pest,
including but not limited to birds, mice, roaches, ants, spiders, fruit flies. Defendants failed to
correct broken windows, broken toilet, sinks cracks in ceiling, roofs and walls, including cell
204, 137, and 356 where plaintiff was sent after seg 1/22/16 and which the toilet in that cell 356
was also broken and the ceiling also leaked. Plaintiff filed 2 other grievances with counselor
Graves-but he later informed me that they were both destroyed. Plaintiff has enclosed a summary
of said grievances. Plaintiff was forced to endure all this because prison officials refused to
enforce and abide by their own rules and regulations and correct what’s was wrong.

       ANSWER: Defendants admit Plaintiff was in cell F-356 from January 22, 2016 to

March 3, 2016. Defendants further admit that Plaintiff was housed in cells F-204 and 137.

Defendants deny any of Plaintiff’s constitutional rights were violated. Defendants further

deny failing to address the conditions complained of and that IDOC rules or regulations

were not enforced. Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of paragraph 23.

        24.     Plaintiff suffered skin rashes from the bacteria and mold and dirt. Plaintiff also
developed a problem with his sight and vision which was compounded by the infected
overflowing toilet in the cell above cell 137 which leaked from the ceiling into plaintiff’s eyes.
Plaintiff also suffered from kidney and prostate problems from being forced to hold urine
(sometimes as long as 11 hours). Plaintiff also experienced incontinence and was unable to
control when he defecated-this problem persisted for about 3 months before it subsided. (Jan-
March 19 2016).

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of paragraph 24.



                                                 7
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 8 of 9 PageID #:109



        25.    When plaintiff received his property 1/27/16 he was missing numerous personal
property items and his inventory report was not signed nor dated by the internal affairs officers
who inventoried my property. All in violation of plaintiff’s due process and equal protection
under the law 14 amendment. Plaintiff also had his own signature forged on personnel property
reports.

       ANSWER: Defendants deny any of Plaintiff’s constitutional rights were violated.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of paragraph 25.

                                         JURY DEMAND

       Defendants demand that the case be tried by a jury.

                                  AFFIRMATIVE DEFENSES
                                   First Affirmative Defense
                                     Qualified Immunity

       At all times relevant herein, Defendants acted in good faith and in furtherance of lawful

objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

which a reasonable person would have known. Defendants are therefore protected from suit by

the doctrine of qualified immunity.

                                   Second Affirmative Defense
                                      Personal Involvement

       Defendants’ personal involvement has not been established with sufficient specificity

to state a claim upon which relief can be granted.


                                       Third Affirmative Defense
                                              Exhaustion


       Plaintiff has failed to exhaust his administrative remedies. Plaintiff filed this lawsuit

concerning prison conditions while in the custody of the Illinois Department of Corrections




                                                  8
    Case: 1:17-cv-05776 Document #: 23 Filed: 03/05/18 Page 9 of 9 PageID #:110



and failed to properly exhaust administrative remedies prior to filing his suit. Plaintiff’s suit is

therefore barred by 42 U.S.C. 1997e(a).




                                                      Respectfully submitted,

LISA MADIGAN                                         /s/Manuel Mandujano
Attorney General of                                   MANUEL MANDUJANO
Illinois                                              Assistant Attorney General
                                                      Office of the Illinois Attorney General
                                                      General Law Bureau
                                                      100 W. Randolph, 13th Floor
                                                      Chicago, IL 60601
                                                      (312) 814-4809
                                                      Mmandujano@atg.state.il.us

                               CERTIFICATE OF SERVICE
       The undersigned attorney hereby certifies that the aforementioned document was filed
through the Court’s CM/ECF system and a copy placed in the US Mail before 5:00pm on March
5, 2018 at 100 W. Randolph, Chicago, IL 60601 to the individual listed below. Parties of record
may obtain a copy through the Court’s CM/ECF system.

                                                             /s/Manuel J. Mandujano
Darrell Fair (B-32994)
Stateville Correctional Center
Rte 53, Box 112
Joliet, IL 60434




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